        Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 1 of 7




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSCAOLA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                                       CASE NO. 3:21cr63-MCR

MICHAEL J. GIVEN,

     Defendant.
________________________________/

                                      ORDER

      Before the Court is Defendant Michael J. Given’s (Dr. Given) Motion in

Limine to Exclude Other Crimes Evidence the Government intends to introduce at

trial (ECF No. 34), primarily previous prescribing practices. The Government

opposes the motion. See ECF No. 37.

      The evidence Dr. Given seeks to exclude includes the following: his general

prescribing practices for controlled substances between March 2013 and June 2018;

specific instances in which he followed that general practice, including with regard

to the prescriptions identified in the Superseding Indictment, as well as prescriptions

issued to other patients, on other dates, and/or for other controlled substances; his

practice of issuing pre-signed Suboxone prescriptions for substance abuse patients,

which were distributed by mid-level practitioners in his absence without examining

the patients; a complaint the Florida Department of Health filed against him based
        Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 2 of 7




                                                                            Page 2 of 7

on his prescribing practices, which resulted in him entering into a settlement

agreement in which he acknowledged the practices were unlawful and agreed to pay

a fine and obtain continuing medical education on risk management, none of which

he disclosed to Ascension/Sacred Heart Medical Group (Sacred Heart), with which

he was affiliated at the time; and his violation of unspecified federal and state laws

and regulations, as well as Sacred Heart’s internal policies, governing the

prescribing of controlled substances. See ECF No. 34. Dr. Given argues that the

evidence pertains to criminal conduct that occurred prior to the conduct charged in

the Superseding Indictment and/or is materially dissimilar to the charged conduct

and thus should be excluded pursuant to Fed. R. Crim. P. 404(b)(1) as improper

character and bad acts evidence and also as irrelevant and unfairly prejudicial. The

Government maintains that the evidence is admissible as conduct explicitly charged

in the Superseding Indictment or otherwise inextricably intertwined with the conduct

charged or is alternatively admissible, pursuant to Rule 404(b)(2), to prove

knowledge, intent, and/or lack of mistake. See ECF No. 37.

      A Superseding Indictment charged Dr. Given with 33 Counts of unlawfully

dispensing controlled substances in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(C), 841(b)(2), and 841(b)(3), provisions of the Controlled Substances Act

(CSA). See ECF No. 27. The CSA charges are based on Dr. Given’s alleged
Case No. 3:21cr63-MCR
         Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 3 of 7




                                                                                       Page 3 of 7

violation of 21 C.F.R. § 1306.05(a), a civil regulation that requires doctors to date

and sign prescriptions when issued.1 According to the Superseding Indictment, Dr.

Given allowed non-physician providers in his practice, including physician

assistants, to deliver thirty-three prescriptions for controlled substances to patients

in his absence, which he issued and signed without examining the patients.

       The Court concludes that the evidence Dr. Given seeks to exclude is intrinsic

to the charged offenses. Evidence is not excluded under Rule 404(b) when it (1)

pertains to an uncharged offense that arose out of the same transaction or series of

transactions as the offenses charged, (2) is necessary to complete the story of the

crime, or (3) is inextricably intertwined with the evidence regarding the charged

offenses. See United States v. Edouard, 485 F.3d 1324, 1344 (11th Cir. 2007).

“Evidence, not part of the crime charged but pertaining to the chain of events

explaining the context, motive[,] and set-up of the crime, is properly admitted if

linked in time and circumstances with the charged crime, or forms an integral and


1
  Pursuant to 21 C.F.R. § 1306.04(a), “[a] prescription for a controlled substance to be effective
must be issued for a legitimate medical purpose by an individual practitioner acting in the usual
course of his professional practice.” The regulations also provide that “[a]ll prescriptions for
controlled substances shall be dated as of, and signed on, the day when issued and shall bear the
full name and address of the patient, the drug name, strength, dosage form, quantity prescribed,
directions for use, and the name, address and registration number of the practitioner.” 21 C.F.R.
§ 1306.05(a). Title 21 U.S.C. § 841(a)(1) makes it a federal crime “for any person knowingly or
intentionally . . . to manufacture, distribute, or dispense . . . a controlled substance” except as
authorized by statute.

Case No. 3:21cr63-MCR
         Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 4 of 7




                                                                                        Page 4 of 7

natural part of an account of the crime, or is necessary to complete the story of the

crime for the jury.” Id. (internal marks omitted). “And evidence is inextricably

intertwined with the evidence regarding the charged offense if it forms an integral

and natural part of the witness’s accounts of the circumstances surrounding the

offenses for which the defendant was indicted.” Id. (internal marks omitted). Of

course, in order to be admitted, such evidence must also satisfy the requirements of

Rule 403.2 Id.

       The evidence Dr. Given seeks to exclude—evidence pertaining to his former

prescribing practices and the administrative action against him based on those

practices—is inextricably intertwined with evidence regarding the offenses charged

in the Superseding Indictment. Indeed, the evidence shows the manner in which Dr.

Given’s improper prescribing practices evolved into the conduct for which he was

indicted, including changes that occurred after the Department of Health filed the

administrative action against him, resulting in Dr. Given acknowledging the


2
  Pursuant to Rule Fed. R. Civ. P. 403, “[t]he court may exclude relevant evidence if its probative
value is substantially outweighed by a danger of one or more of the following: unfair prejudice,
confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
cumulative evidence.” Fed. R. Evid. 403. As the Eleventh Circuit has observed, “Rule 403 is an
extraordinary remedy[,] which should be used only sparingly[,] and the balance should be struck
in favor of admissibility.” Edouard, 485 F.3d at 1344 n.8 (internal marks omitted). Thus, in
reviewing issues under Rule 403, we look at the evidence in a light most favorable to its admission,
maximizing its probative value and minimizing its undue prejudicial impact.” Id. (internal marks
omitted).

Case No. 3:21cr63-MCR
         Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 5 of 7




                                                                             Page 5 of 7

illegality of the conduct of which he was accused and agreeing to obtain continuing

medical education on risk management, which continued to include issuing

unauthorized prescriptions. The relevance of this evidence was recently confirmed

by the Supreme Court’s opinion in Ruan v. United States, No. 20-1410, 2022 WL

2295024 (U.S. June 27, 2022), which significantly altered the Government’s burden

of proof in criminal prosecutions of physicians under the CSA by imposing a mens

rea element and requiring the Government to prove that the defendant knowingly

acted in an unauthorized manner. The evidence will not be unfairly prejudicial so

long as the uncharged conduct is not so extensive as to amount to “overkill” or guilt

by association on counts that are insufficiently supported by evidence. See United

States v. Tran Trong Cuong, 18 F.3d 1132, 1142 (4th Cir. 1994). That determination

will need to be made in context at trial, but there is no reason to exclude the evidence

at this time.

       Alternatively, the evidence is admissible under Rule 404(b)(2) to show Dr.

Given’s knowledge, intent, and/or absence of mistake. “For evidence of other

crimes or acts to be admissible under Rule 404(b), (1) it must be relevant to an issue

other than defendant’s character; (2) there must be sufficient proof to enable a jury

to find by a preponderance of the evidence that the defendant committed the act(s)

in question; and (3) the probative value of the evidence cannot be substantially
Case No. 3:21cr63-MCR
         Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 6 of 7




                                                                              Page 6 of 7

outweighed by undue prejudice, and the evidence must satisfy Rule 403.” United

States v. Edouard, 485 F.3d 1324, 1344 (11th Cir. 2007). Although not admissible

to show a defendant’s character and action in conformity therewith, evidence of

other crimes, wrongs, or acts may be admissible for other purposes, such as proving

motive, opportunity, intent, preparation, plan, knowledge, identity, absence of

mistake, or lack of accident. Id. The Eleventh Circuit has characterized Rule 404(b)

as a rule of inclusion, noting “[t]he list provided by the rule is not exhaustive and the

range of relevancy outside the ban is almost infinite,” United States v. Culver, 598

F.3d 740, 748 (11th Cir. 2010) (internal marks omitted), and it has held that “404(b)

evidence, like other relevant evidence, should not be excluded when it is central to

the prosecution’s case.” United States v. Eckhardt, 466 F.3d 938, 946 (11th Cir.

2006).

      Although the evidence Dr. Given seeks to exclude involves conduct that is not

identical to that charged in the Superseding Indictment, it shows Dr. Given’s prior

knowledge regarding his improper prescribing practices and thus arguably his intent

and lack of mistake with regard to the unlawful prescribing practices charged in the

Superseding Indictment. Again, the evidence shows not only that the Department

of Health filed an administrative complaint against Dr. Given based on improper

prescribing practices, but it also shows that in connection with resolving that matter,
Case No. 3:21cr63-MCR
        Case 3:21-cr-00063-MCR Document 48 Filed 07/13/22 Page 7 of 7




                                                                            Page 7 of 7

Dr. Given acknowledged that the conduct with which he was charged was illegal

and he agreed to obtain continuing medical education on risk management.

Moreover, during that time, Dr. Given was bound by Sacred Heart’s internal policies

and procedures, which required, among other things, that he delay or refer to a

covering physician any refill requests for narcotic and analgesic medication while

he was out of the office. The indictment alleges that Dr. Given failed to do so, opting

instead to have his staff dispense such prescriptions in his absence. The evidence

Dr. Given seeks to exclude thus is plainly relevant to show knowledge, intent, and/or

absence of mistake. Of course, the Government will be required to demonstrate

sufficient proof to permit the jury to find that Dr. Given engaged in the uncharged

conduct. And, again, whether the probative value of the evidence is outweighed by

the danger of unfair prejudice is a determination the Court will have to make at trial.

At this stage, however, there is no reason to exclude the evidence.

      Accordingly, Defendant’s Motion in Limine to Exclude Other Crimes

Evidence (ECF No. 34) is DENIED.

      DONE AND ORDERED this 13th day of July 2022.

                                         M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE


Case No. 3:21cr63-MCR
